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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA

      v.                                            No. 13-cr-20348

D-1 CHARLES MCRAE,                                  HON. John Corbett O'Meara
D-2 CECIL KENT, JR.,
D-3 ALVIN WILLIAMS,

                   Defendants.
                                         /

                     ORDER FOR CONTINUANCE
                                OF
              TRIAL DATE AND FINDING OF EXCLUDABLE
                              DELAY
      Upon this Court’s consideration of Defendant Alvin Williams’ Motion to

Adjourn Trial Date [Doc #67], the concurrence of Co-Defendant Counsel and

in consideration of the Government’s Response;

      IT IS HEREBY ORDERED that the jury trial in this matter is adjourned

from June 2, 2015, until July 28, 2015, at 9:00 a.m. before District Judge John

Corbett O’Meara;

      IT IS FURTHER ORDERED that the time period between June 2, 2015,

and July 28, 2015, shall be deemed excludable delay under the provisions of the

Speedy Trial Act, 18 U.S.C. § 3161. Pursuant to 18 U.S.C. § 3161(h)(7)(A), and

considering the factors listed in 18 U.S.C. § 3161(h)(7)(A), the Court concludes
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that the ends of justice are served by this delay because it enables defendants

adequate time to meet and confer with their attorneys, to review evidence, receive

and review the Superseding Indictment, allows Alvin Williams adequate time to

seek medical diagnostic testing and confer with his Attorneys, and prepare for

trial. This Court finds that the ends of justice served by this delay outweigh the

best interests of the defendants and the public in a speedy trial.

      SO ORDERED.

Date: May 20, 2015                                  s/John Corbett O’Meara
                                                    United States District Judge
